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                                   6                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  10   STATE OF CALIFORNIA, et al.,
                                  11                  Plaintiffs,                          No. C 20-04869 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   ANDREW R. WHEELER, Administrator of                 ORDER GRANTING
                                       the United States Environmental Protection          INTERVENTION
                                  14   Agency, et al.,
                                  15                  Defendants,

                                  16           and

                                  17   STATE OF LOUISIANA, et al.,
                                  18                  Defendant-Intervenors.

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                                  20        The National Hydropower Association (Dkt. No. 75) and the American Petroleum
                                  21   Institute and the Interstate Natural Gas Association of America (Dkt. No. 84) move to
                                  22   intervene under Rule 24 in defense of the Administrator’s final rule. Plaintiffs do not oppose
                                  23   (Dkt. No. 103). The motions are GRANTED.
                                  24        IT IS SO ORDERED.
                                  25   Dated: October 9, 2020.
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                                                                                             WILLIAM ALSUP
                                  28                                                         UNITED STATES DISTRICT JUDGE
